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EXHIBIT A _

 

 
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Jolene Smith

c/o Sabatini Fieenian, LLC
216 N Blakley Street
Dunmore, PA 18512

Plaintiff Couit of Common Pleas of Wayne County
— Civil Action

. Cp
Case No DA cv. OL
American Coradiusilntei national, LLC

2420 Swect Home Road;,Suite 150
Amheist, NY 14228!

LVNV Funding, LLE
55 Beattie Place, Suite 110
Greenville, SC 29601

 

Detendants duty Tual Demanded

YOU HAVE BEEN ‘SUED IN COURT If you wish to defend against the claim set for thin
the tollowing pages, you must take action within twenty (20) days after this complaint
and notice aie served, by entering a witlten appearance peisonally o1 by an atloiney and
filing in wiiting with the court your detenses o1 objections to the claims set forth against
vou You are warned that if you fail to do so the case may procced without you and a
Judgment may be entered against you by the cout without further notice for anv money
claimed tn the complaint o1 for any other claim o1 1elief requested by the plaintff You
may lose money o1 property or other lights important to vou YOU SHOULD TAKE
THIS PAPER TO YOUR LAWYER AT ONCE IF YOU DO NOT HAVE:A LAWYER, GO
TO OR TELEPHONE THE OFFICE SET FORTH BELOW THIS OFFICE CAN
PROVIDE YOU WHI'H INFORMATION ABOUT HIRING A LAWYER. IF YOU CANNOT
AFFORD TO HIRE'A LAWYER, THIS‘OFFICE MAY BE ABLE TO PROVIDE YOU
WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL SERVICLS TO
ELIGIBLE PERSONS A’ A REDUCED RATE OR NO FEE

North Penn Legal Sei vices
925 Court Street
Honesclale, PA 18431
(877) 515-7465

   
   
      

 

 

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Jolene Smith,

' Plaintiff Couit of Common Pleas of Wavne County
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- Cri! Action

Case No AD -w- BOR
American Coradius International, LLC,
LVNV Funding, LLC,

- Defendants Jwy ‘Tual Demanded

COMPLAIN?

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t . .
. I. Introduction
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1 This 18‘an‘action for damages biought by an individual consume for

violations of the Fan Debt Collection Practices Act, 1 USC § 1692, et sey (‘the Act”)

which prohibits debt collectors from engaging in abusive, unfan, and deceptive

practices

a UW, Jurisdiction
5

9

Jurisdiction of this Court is proper pursuant to 15 USC 8 1692k(d), which

permits an action under the Act to be brought in any court of competent jurisdiction

3 Venue in this district is proper in that Defendants transact business here

and the conduct coiviplained of 1s ‘alleged to have occuited.heie

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IIl., Parties
' r | ‘Plaintiff, Jolene Smith, 1s‘4 natural person who,1esided in Wayne County
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’ Re ee ~_
a “ S tox
5 Detendant,’Ameiican Coradius International, LLC (“ACI”), ts a limited 2 ZG
. O MARD
habiltty corporatiog with a place of business located at 2420 Sweet Home Road, Suites 295
. GoF
for
_t50, Amherst, NY 14228 x er
2 ank
6 ACI regulaily uses the mail in its business 5 ®
. The principal put pose of ACI’s business is the collection of debts
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8. ACI has reason to believe that a non-trivial portion of the accounts that it
collects are for obligations for which the money, property, insurance, or services which

were the subjects of the transactions were primarily for personal, family, or household

pur poses.

9 ACI does have reason to believe that it 1s probably true that the principal
purpose of its business is the collection of “debt” as defined by 15 U.S.C. § 1692a(5)

10, The principal purpose of ACI's business is the collection of “debt” as that
term is defined by 15 U.S.C. § 1692a(5) — °

11 ACT regularly attempts to collect debts asserted to be due to another. The
term “debt” is used in this allegation as that term is defined by 15 U.S.C. § 1692a(5).

12, ACI’s website asserts that ACI has “over 29 years experience resolving
consumer debt.” http: v i ladiu 1
13 ACI is a “debt collector” as defined by the Act, 15 U SC. § 1692a(6).

14 Defendant LVNV Funding, LLC (“LVNV”) 1s a limited liability corporation

engaged in the business of collecting debts in this State with a place of business located

at 55 Beattie Place, Suite 110, Greenville, SC 296018 and is a “debt collector” as defined
by the Act, 15 U.S.C. § 1692a(6).

15 LVNV uses the mails in its business.

16,  LVNV buys defaulted debts.

17 _—: In 2018, LVNV filed lawsunts seeking to collect from consumers milhons of

dollars of debts that LVNV had purchased,

18 The principal purpose of LVNV’s business ts the collection of debts

 

 
 

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IV. Statement of Claim

19 Within the past year ACI was attempting to collect an account that
Plaintiff allegedly owed to LVNV Funding, LLC (“the Account”)

20 The Account is a “debt” as that term ts defined by the Act, 15 U.S.C.

§ 1692a(5)

21 On or about December 12, 2017, ACI caused to be mailed a letter
addressed to Plaintiff.

22. Atrue and correct copy of the letter 1s attached as Exhibit A (Redacted to
ensure financial privacy).

23 ~—- The letter was an attempt to collect the Account. .

24.  Acoliection letter is viewed from the perspective of the least sophisticated
consumer:

25 =‘ If the least sophisticated consumer could give two different meanings to |
ambiguous language, and if one of those meanings is inaccurate, then the letter 1s
deceptive ;

26 Here the collection letter stated, inter aha:

Unless you notify this office within 30 days after receiving
this notice that you dispute the validity of this debt or any
potion thereof, this office will assume this debt ts valid. .

27 ' This language would convey to a consumer that the consumer could orally
exercise his rights to lodge a dispute and thereby prevent the debt collector from
assuming that the debt is valid

28 However, an oral dispute ts “not a legally effective alternative for disputing
the debt " Caprio v HRRG, LLC, 709 F.3d, 142, 151 (3d Cir 2013)

29 The excerpted language quoted in § 26 above omits a portion of the letter

 

 

 
 

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as indicated by the ellipses That omitted language did notify the consumer that the
consumer must dispute the debt in writing if she wished to receive a written copy of (a)
verification of the debt, (b) a judgment, or (c) the name and address of the original
creditor

30. However, a consumer who did not care to receive this written information,
and who instead only wished to dispute the validity of the debt, could beheve that an
oral dispute would be the fastest and simplest way to accomplish that goal

_ 31-15 U S.C. § 16928(a) requires a debt collector to notify a consumer of his

. dispute nghts within five days of the first communication with the consumer in

connection with the collection of the debt

32. The letter does not effectively convey to the consumer the information
required by § 16928.

33. By failing to indicate that the dispute must be in writing, the notice

violates the Act. Guzman v HOVG, LLC, 2018 WL5631096 at “5 (E.D. Pa. October 31,
2018.) |

34 LVNV was the owner of the Account at the time of the aforementioned
collection activity and enlisted ACI to collect the Account.

35 — Atall times relevant hereto, ACI was acting on behalf of and as an agent of
LVNV in attempting to collect a consumer debt allegedly owed to LVNV.

36. LVNVis directly and Vicariously liable for the conduct of ACI in
attempting to collect a debt allegedly owed by Plaintiff. -

37. Asa result, Defendants violated the Act, 15 U.S.C. § 1692

WHEREFORE, Plaintiff demands Judgment against Defendants for damages,

costs, attorney's fees, and such other and further relief as the Court deems just and

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Calo Sabatini

Bar Number PA 83831
Attorney for Plaintiff
Sabatini Freeman, LLC
216 N Blakely St
Dunmote, PA 18512
Phone (570) 341-9000

autification of Compliance

 

I certify thatthis filing complies with the provisions of the Public Access Policy of
the Unified Judicial System of Pennsylvania Case Records of the Appellate and Tr tal

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Exhibit A

(Letter dated December 12, 2017) |

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SET ENE Be venne-aoce * American Coradius Intemational LLC

Toll Free: 1-855-224-5186
A |

   

” Creditor: |LVNV FUNDING LLC
CREDIT ONE

  
  
 
  
 
 

  

NA

Reference

 

December 12, 2017 /
TMB °A-02.PAG-AMO12¢2-6 Mako Checks Payable to:

Myo aL ap Ufa AUN fag HAN hoe] ftOMe geo gyof ef fUttne, AL een Added adn d ddl gE tig feg tag lftf '

JOLENE SMITH . AMERICAN CORADIUS INTERNATIONAL LLC, :

341 HONESDALE AD ; +. 2420 SWEET HOME AD STE 150

WAYMART PA 18472-9339 AMHERST NY 14226-2244

PLEASE OBTACH HERE ANO RETURN THIS PORTION wire YOUR PAYMENT IN THE ENVELOPE PROVIDEO

 

 

 

 

 

 

 

 

Creditor Original Creditor Account # Account Balance
LVNV FUNDING LLC CREDIT ONE BANK, NA. KKK $891.85
Dear Jolene Smith : |

We are wiiting to you regarding your LVNV FUNDING LLC account This account has been placed with our office for s
collation Your balance us of fy date on this letter is $6894 85 P

A

Ie ollfy this office within 30 days after receiving this notice that you dispute the validi of this debt or any portion
tera ena, tnis assume each iS valid if you ratify this office Inwhtin Palthun 0 days trom receiving ine fotice

that you dispute the valicity of this debt or any portion thereof, this office will obfain verification of the debt or oblain a copy of
a judgment and mail you & copy of such jud ment or veniicalion. If you request of this office in wriling within 30 days atter
ey

recaiving this notice this office will provi u with the name and address of the onginal creditor, if different from the current
credilor

At ths time Amencan Coradius Intemational LLC, is willing to accept $588 63 to to resolve the account for less than the full
balance This offer requires that Amencan Coradius Intemational LLC receives your funds in the amount of $588 63 on or
before 01/26/2018. Hf you wish to discuss this offer, please contact our office al 1-855-224-5186 at your convenience

Upon clearance ol your payment, we will notify our cilent so thay can update their records accordingly Hi
Make your check or money order pay 16 to. “3 ,
AME AN CORADIUS INTERNATIONAL LLC “ ;
2420 SWEET HOME RD STE 150
AMHERST NY 14228-2244

Pyease note thal our request lor payment does not affect your nght to dispute this debt We are not obligated to renew this
offer

N
Sincerely,

Amencan Coradius Intemational LLC
A Professional Debt Recovery Agency

forint anuntcauon is Irom a debt cotiecior This is an allempt to coflect a debt and any information obtained will be usad ot
F :

Calls to or from thls company may be monitored or recorded (or quality assurance purposes '

 

For your convenience you can now resotve this matter Gniing 3 Logon to www acibillpay com. to see the repayment options
{

You will need your AC) reférence numbe: available when you tog n !
You can now make payment arrangements on your a hacking, savings, or debit card accounts :
a, :

 

 

Ollice Address: 2420 Sweet Home Ad Ste 150, Amherst NY 14228-2244 i
Hours of Operation Mon-Tues’ SAM-BPM, Wed-Fri BAM-5PM, Sat 8AM-12PM EST

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